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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       Samuel Martin

Docket Number:                       1:99CR05103-09 REC

Offender Address:                    Merced, California

Judicial Officer:                    Honorable Robert E. Coyle
                                     Senior United States District Judge
                                     Fresno, California

Original Sentence Date:              August 18, 2003

Original Offense:                    Count 1: 21 USC 841(a)(1) and 18 USC 2, Possession
                                     of Cocaine With the Intent to Distribute and Aiding and
                                     Abetting (CLASS A FELONY)

                                     Count 2: 21 USC 841 (a)(1) and 846, Conspiracy to
                                     Possess With Intent to Distribute Cocaine, Heroin, and
                                     Methamphetamine (CLASS A FELONY)

Original Sentence:                   24 months custody of Bureau of Prisons; 60 months
                                     supervised release; $200 special assessment; $17,500
                                     fine; mandatory testing.

Special Conditions:                  1) Search; 2) Provide requested financial information; 3)
                                     Participate in drug/alcohol treatment program; 4)
                                     Participate alcohol/drug testing program; 5) Abstain
                                     from the use of alcohol; 6) Participate in co-payment
                                     plan; 7) Register as a drug offender.

Type of Supervision:                 Supervised Release

Supervision Commenced:               08/22/2006




Assistant U.S. Attorney:             Kevin Rooney              Telephone: (559) 497-4000

                                                                                                           R ev. 02/2007
                                                                              V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                                                                              (M O D IFIC A T IO N ).M R G
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RE:    MARTIN, Samuel
       Docket Number: 1:99CR05103-09 REC
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER



Defense Attorney:                   Jim Elia               Telephone: (559) 498-3600

Other Court Action:                 None.



                                PETITIONING THE COURT

To modify the conditions of supervision as follows:

       The defendant shall complete 50 hours of unpaid community service as
       directed by the probation officer. The defendant shall pay fees attendant to
       participation and placement in this program, on a sliding scale as determined
       by the program. Community service shall be completed by July 1, 2009.


Justification: On November 2, 2008, Merced County Sheriff’s Department indicates the
offender was a victim of an assault that occurred at a bar in Livingston. The offender and
his brother were at a bar having a couple of drinks, and when the offender exited the bar
to have a cigarette, he was confronted by approximately five adults males. One of the
adult males asked the offender a question and shortly after, he was struck on the left side
of his face with a glass mug. The offender sustained a deep laceration to his face which
required forty-two stitches. The offender denies telling the Sheriff’s officer that he was
drinking alcohol with his brother. According to the offender, his brother telephoned him
that evening and requested a ride home as he was too intoxicated to drive. Although the
offender is a victim in this case, his special conditions restrict him from drinking alcohol and
frequenting those places where alcohol is the chief item of sale. He acknowledged making
a mistake by entering the bar and using bad judgment.




In order to address this violation and issues of accountability, this officer is recommending
the Court modify his conditions of supervision to reflect the above special condition.

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                                               2                                        (M O D IFIC A T IO N ).M R G
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RE:   MARTIN, Samuel
      Docket Number: 1:99CR05103-09 REC
      PETITION TO MODIFY THE CONDITIONS OR TERM
      OF SUPERVISION WITH CONSENT OF THE OFFENDER


Attached is the signed "Waiver of Hearing to Modify Conditions of Supervised Release..."



                                Respectfully submitted,


                               /s/ Marlene K. DeOrian
                               MARLENE K. DEORIAN
                       Senior United States Probation Officer
                             Telephone: 559-499-5729



DATED:       December 10, 2008
             Fresno, California
             MKD



REVIEWED BY:        /s/ Hubert J. Alvarez
                    HUBERT J. ALVAREZ
                    Supervising United States Probation Officer




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                                                                  V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                            3                                     (M O D IFIC A T IO N ).M R G
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RE:   MARTIN, Samuel
      Docket Number: 1:99CR05103-09 REC
      PETITION TO MODIFY THE CONDITIONS OR TERM
      OF SUPERVISION WITH CONSENT OF THE OFFENDER




THE COURT ORDERS:

( X ) Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:

IT IS SO ORDERED.

Dated: December 16, 2008                    /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




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                                                                  V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                           4                                      (M O D IFIC A T IO N ).M R G
